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                             UNITED STATES COURT OF INTERNATIONAL TRADE
                                         ONE FEDERAL PLAZA
                                       NEW YORK, NY 10278-0001


CHAMBERS OF
Claire R. Kelly
    Judge



                                                             March 26, 2018

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      Re:    Claude N. Lewis v. American Sugar Refining, Inc. and Mehandra Ramphal,
             Case No. 14-cv-02302

Dear Counsel:

       The court requested that the parties clarify to which exhibits Defendants object on
the grounds of authentication. Court’s Letter at 2, Mar. 19, 2018, ECF No. 130. In your
respective letters from Friday, March 23, 2018, you indicate that this list includes PX-1,
PX-2, PX-3, PX-4, PX-5, PX-7, PX-21 and PX-22. Pl.’s Letter at 1, Mar. 22, 2018, ECF
No. 138; Defs.’ Letter at 1, Mar. 22, 2018, ECF No. 139. The court has the following
questions, which counsel should be prepared to answer during the teleconference on
Monday, March 26, 2018:

   1. Defendants’ counsel also objected to PX-9, PX-11, and PX-20 in the proposed joint
      pretrial order on the basis of authentication. Proposed Joint Pretrial Order at 24–
      26, Nov. 7, 2017, ECF No. 98. Please confirm whether these exhibits should also
      be included in this list of exhibits to be authenticated.

   2. Please confirm whether PX-22 is one of the exhibits that have been withdrawn,
      as the parties indicated at the pretrial conference on March 19, 2018.

       If you have any questions, please contact my case manager, Mr. Steve Taronji, at
(212) 264-1611.


                                                Sincerely,

                                                 /s/ Claire R. Kelly
                                                Claire R. Kelly, Judge
